






Opinion issued May 31, 2007









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-04-00557-CV

____________


SHAH W. POPAL, Appellant


V.


WHITE-TUCKER COMPANY, Appellee






On Appeal from the County Civil Court at Law No. 2

Harris County, Texas

Trial Court Cause No.780966






MEMORANDUM OPINION

	Appellant has filed an unopposed motion to dismiss his appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Keyes and Higley.


